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 6
                                  UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
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                                                   ***
 9
     UNITED STATES OF AMERICA,         )
10                                     )
               Plaintiff,              )
11                                     )
   vs.                                 )                 2:13-cr-00185-MMD-VCF
12                                     )
   ROBERT C. BARROW,                   )
13                                     )
               Defendant.              )                           ORDER
14 ____________________________________)
15
                   On January 14, 2015, the Court granted the Defendant’s [#110] Motion to Dismiss
16
     and Appoint New Counsel.
17
                   Accordingly, IT IS HEREBY ORDERED that Michael P. Kimbrell is APPOINTED
18
     as counsel for Robert C. Barrow for all future proceedings.
19
                   The Federal Public Defender’s Office shall forward the file to Mr. Kimbrell forthwith.
20
21                 DATED this 20 day of January, 2015.
                   Nunc Pro Tunc January 16, 2015.
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23
                                                         _____________________________________
24                                                       UNITED STATES DISTRICT JUDGE

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